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                      IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF FLORIDA, ORLANDO DIVISION

 UNITED STATES OF AMERICA
 and GREGORY CHABOT,

        Plaintiff,                                   Case No. 6:06-CV-1528-MSS-KRS

 \WA




 MLU SERVICES, INC.,

        Defendant.


       DEFENDANT MLU SERVICES, INC.'S MEMORANDUM IN OPPOSITION TO
        RELATOR'S MOTION TO PERMIT PROOF OF DAMAGES PURSUANT TO
              SUPPLEMENTAL RULE 26 DAMAGES COMPUTATION

        Defendant MLU Services, Inc. ("MLU"), files this memorandum of law in opposition to

 Relator Gregory Chabot's ("Chabot") Motion to Permit Proof of Damages Pursuant to

 Supplemental Rule 26 Damages Computation. MLU hereby opposes Chabot's Motion on the

 grounds that Chabot's request is untimely and prejudicial and the supplemental damages

 computation is not a proper calculation of actual damages according to the Court's previous

 instructions.

                                     Memorandum of Law

 I.      Chabot's Supplemental Damages Computation is Untimely and Prejudicial

         On March 18, 2008, Chabot served his Initial Rule 26(a) Disclosures ("Initial

 Disclosures") in which Chabot provided a computation of the damages he is seeking in this case.

 (A true and correct copy of Chabot's Initial Rule 26(a) Disclosures is attached as Exhibit A). In

 these Initial Disclosures, Chabot stated that his damages were "treble damages of the contract

 amount, which is believed to be $7,500,000, for a total of $22,500,000. (Exhibit A). This

 damages computation has never changed throughout this litigation until Chabot filed the instant
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Motion on April 2, 2010. For the first time, almost two weeks prior to trial, Chabot seeks to

amend these Initial Disclosures and introduce evidence of an entirely new damages model. This

attempt to modify the damages model on the eve of trial is both untimely and prejudicial to

MLU.

        Not only has Chabot waited until the eve of trial to now supplement his Initial

Disclosures, this supplement also comes after the close of discovery. The Court entered a Case

Management and Scheduling Order on March 19, 2008, which set the discovery deadline in this

case for July 1, 2009. (Dkt. 27). The parties previously requested and were granted a thirty day

extension of the discovery deadline until August 1, 2009. (Dkt. 38). Accordingly, the discovery

deadline was closed in this case on August 1, 2009, as the additional extensions granted by the

Court were for the sole purpose of conducting additional depositions requested by the parties.1

         A)       Chabot's late supplemental Rule 26 Disclosures violate Rule 26 and Rule 37
                  and are not substantially justified

         As a general matter, disclosing a computation of damages under Rule 26(a) is necessary

for the opposing party to produce responding evidence, such as an expert report." EEOC v. GLC

Restaurants, Inc., No. CV 05-618 PCT DGC, 2007 WL 30269, *9 (D.Ariz. Jan.4, 2007); see also

Hewlett Packard Co. v. Factory Mut. Ins. Co., 2006 WL 1788946, *14 (S.D.N.Y. June 28, 2006)

 ("[E]arly disclosure of a party's damages computation `provide[s] [the] opposing party with an



1 The parties' subsequent request for an extension of the August 1, 2009 discovery deadline (Dkt. 42) was granted in
part and denied in part, in that the Court granted a limited extension of the discovery deadline until October 1, 2009
for the purpose of taking six additional depositions requested by the parties. (Dkt. 43). As the Court is aware, on
September 15, 2009, this case was stayed due to Chabot's counsel's medical condition. Subsequent to the lifting of
the stay, the Court permitted the parties an additional sixteen days until March 1, 2010, to complete the five
previously set depositions. (Dkt. 74). The Court specifically found that the parties could take no additional
depositions other than those discussed in their Joint Motion (Dkt. 42) and granted in the August 6, 2009 Order (Dkt.
43). (Dkt. 74). Thus, this limited sixteen day extension was not an extension for written discovery, but rather only
the previously requested depositions, which Chabot did not end up taking.
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 early understanding of the basis and amount of any damages claim it is facing, so that it may

 conduct meaningful discovery as to the underpinning of such a claim' ").

        Under Federal Rule of Civil Procedure 37, failure to timely disclose computation of

 damages under Rule 26(a) results in virtually automatic preclusion of that information. See

Austrian Airlines v. UT Finance Corp., 2005 WL 977850, at *2 (S.D.N.Y. 2005) (granting

 defendant's motion to strike plaintiffs damages claim not disclosed in plaintiffs Rule 26(a)(1)

 initial disclosures). Rule 37 provides:

         A party that without substantial justification fails to disclose information required by
         Rule 26(a) ... is not, unless such failure is harmless, permitted to use as evidence at a
         trial, at a hearing, or on a motion any witness or information not so disclosed.

         Fed. R. Civ. P. 37(c)(1).

         Moreover, multiple Courts have found that supplemental disclosures regarding a party's

 claimed damages must come prior to the close of discovery to be meaningful and to comply with

 Rule 26. Hoffman v. Construction Protective Services, Inc., 541 F.3d 1175 (9 th Cir.

 2008)(finding that disclosure of damages computation after close of discovery was not harmless

 because it required court to create a "new briefing schedule and perhaps re-open discovery");

 Steinberg v. Sunbelt Transformer Co., 2008 WL 5429587 (C.D.Cal.)(finding that late disclosure

 of damages calculation was not harmless when disclosure took place after discovery).

         In light of the plain reading of both Rule 26 and Rule 37, Chabot should not be permitted

 to modify its damages computation for the first time approximately two weeks before trial and

 more than eight months after the close of discovery. Chabot has consistently stated in both his

 Initial Disclosures and his Verified Amended Complaint filed on May 1, 2009 (Dkt. 35,

 paragraph 36) that the damages he seeks are the full contract value of MLU's contract with

 FEMA of approximately $6.9M, which amount would then be trebled.
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        Purportedly as a result of an adverse damages ruling in the RCG trial held in September,

 2009, Chabot now seeks to completely change this damages theory in a futile attempt to comply

with the damages instruction the Court has consistently provided concerning actual damages.

 Chabot has now changed his damages theory from the full contract amount, to a calculation in

 which he claims to have deducted from the full contract value, certain amounts paid to various

 subcontractors MLU utilized to perform some portions of its work under the FEMA contract.

 Chabot also is apparently deducting certain "other costs" contained in certain MLU invoices

 from the contract amount paid to MLU. Clearly, this is an entirely new damages theory and

 computation that is now disclosed almost two weeks before trial and months after the close of

 discovery.

        B)      Chabot's failure to disclose is not harmless and will prejudice MLU

        MLU is prejudiced by this late disclosure as it is unable to retain an expert to analyze

 these calculations or otherwise conduct discovery concerning the basis of these calculations.

 MLU has been conducting this case on the basis of Chabot's initial disclosure that he intends to

 seek damages for a full contract amount, a position with which MLU has consistently disagreed.

 Based on this reliance, MLU has not sought to retain a damages expert, but instead chose to

 challenge Chabot's entitlement to full contract damages at trial. Furthermore, MLU has not

 conducted discovery with the subcontractors it utilized and whose various invoices are now

 being used by Chabot to support a new damages theory. MLU cannot now conduct new

 discovery with any of the various subcontractors to explore the basis of their charges and

 confirm the amounts upon which Chabot now uses to calculate his damages. Indeed, MLU

 cannot conduct discovery of these subcontractors to investigate whether the subcontractor

 invoices are complete. As this Court has found in the Nu-Way trial, a late disclosed damages
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theory is unduly prejudicial to the defendant and Chabot should be held to the damages proof

disclosed in his Initial Disclosures. (See Nu-Way Transcript attached as Exhibit B)

         Chabot attempts to justify this late disclosure on the grounds that the subcontractor

documents which purportedly support his calculations were not produced by MLU until March

 18, 2010. While MLU did produce certain subcontractor invoices on March 18, 2010, it must be

noted that Chabot had never previously requested production of these invoices at any point in

the case. The very first time Chabot sought production of these subcontractor invoices was in an

 email to the undersigned counsel on February 24, 2010. In that email, Mr. Meredith cites to

 deposition testimony from MLU employees William Ulm and James Kelly in which they

reference the existence of certain subcontractor lists or invoices, but Chabot never issued a

 request for production for any of these documents. 2 Just because a witness might identify a

 document during a deposition does not impose an obligation to produce that document without a

 formal discovery request. Moreover, MLU was not required to produce these subcontractor

 invoices under Rule 26, as it had no intention on ever using them during its defense at trial.

         Accordingly, Chabot's excuse that the subcontractor documents were not produced until

 March 18, 2010 does not provide any justification, much less "substantial justification" for his

 violation of Rule 26, as it is undisputed he never previously requested production of such

 documents. The belated email request for these documents from Chabot in February, 2010, more

 than six months after the close of discovery does not show good cause or a justification for a



 2 In his Second Request for Production Chabot did ask for all documents relating to "agreements MLU entered into
 with Florida licensed or unlicensed mobile/manufactured home installers for the purpose of performing installation
 or set-up activities involving mobile/manufactured homes under your contracts with FEMA ..." MLU timely
 responded to this request that it had no responsive documents because MLU never installed any
 mobile/manufactured homes, as it contracted with FEMA to install only travel trailers. Accordingly, MLU did not
 utilize any subcontractors for the purpose of installing mobile/manufactured homes.
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 Rule 26 violation. Chabot simply waited until much too late to amend his damages theory and

 cannot justify his delay when he never requested during discovery the documents he now uses to

 support his computations.

        Chabot also seeks to justify his Rule 26 violation on the grounds that the other documents

 which form the basis of his new computations have been in MLU's possession for some time.

 This justification is premised upon a fundamental misunderstanding of the purpose of the Rule

 26 disclosure. Rule 26 requires disclosure of a damages theory or model, even if the precise

 computation of those damages cannot be accomplished at the time of an initial disclosure. For

 example in Austrian Airlines Oesterreichische Lufverkehrs AG v. UT Finance Corp., 2005 WL

 977850, *2 (S.D.N.Y. Apr.28, 2005), the Court found that even if a plaintiff could not calculate

 its damages at the time of its initial disclosures, there was no reason why it could not disclose its

 damages theory at that time. Id. at *2. Faced with a plaintiff who amended its Rule 26

 disclosures two weeks before trial to add a new damages theory, the Austrian Airlines Court

 found that the plaintiff could not assert a new, additional damages theory "at the eleventh hour."

 Id.; see also Estate of Gonzalez v. Hickman, 2007 WL 3237635 (C.D. Cal. 2007)(finding that the

 failure to disclose a damages theory of lost earnings in Rule 26 disclosures precluded plaintiff

 from offering proof of those damages at trial); 24/7 Records, Inc. v. Sony Music Entertainment,

 Inc., 566 F.Supp.2d 305 (S.D.N.Y. 2008)(striking a plaintiff's "income producing asset"

 damages theory which was disclosed a mere "weeks" before trial); Green Edge Enterprises, Inc.

 v. Rubber Mulch Etc. LLC, 2009 WL 1383275 (E.D. Mo. May 14, 2009) (party's failure, after

 four years of discovery, to disclose the types of damages it sought until it filed its pre-trial

 compliance and failure to provide any calculations as of the eve of trial left opposing parties
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 subject to "trial by ambush" such that new damages calculations were precluded from

 presentation at trial).

         In this case, even if Chabot could not precisely calculate the amount of actual damages it

 now seeks, the failure to disclose this damages theory until two weeks before trial should result

 in exclusion of this damages evidence under Rule 37. Chabot made no attempt until months

 after the close of discovery on August 1, 2009 to either seek any additional documents it needed

 or supplement and inform MLU of its distinctly changed damages theory. The fact that MLU

 might have had the documents on which Chabot now bases his calculations is irrelevant as MLU

 was not informed of what particular computations Chabot intended to present, other than the

 "full contract value," trebled. Rule 26 requires more than simply producing documents from

 which damages can be deduced, but rather requires disclosure of damages computations and the

 documents and facts supporting them. See Design Strategy v. Davis, 469 F.3d 284 (2d Cir.

 2006)(finding that plaintiff's disclosure of financial statements from which damages could be

 derived was not sufficient under Rule 26, which requires disclosure of computation and

 supporting documents).

         Accordingly, Chabot's newly disclosed damages theory violates Chabot's obligations

 under Rule 26 and is unduly prejudicial to MLU at this late date. There is no justification or

 good cause for these late disclosures and thus, under Rule 37, Chabot should not be permitted to

 offer proof of the damages as reflected in his "supplemental" disclosures.




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    II.      Chabot's Supplemental Rule 26 Damages Computation is Not an Accurate
             Measure of the Government's purported Damages.

          Even assuming that Chabot's Supplemental Rule 26 Disclosures did not violate Rule 26

 and warrant exclusion by being untimely, the Court should not permit proof of these damages as

they are not a proper quantification of the Government's purported damages.

          It has been held that if indeed the government has suffered damages, those damages are

measured by the amount of money the government paid by reason of the false statement above

 what it would have paid absent the false statement. See Harrison v. Westinghouse Savannah

 River Co., 352 F.3d 908, 922-23 (4th Cir. 2003); United States v. Ekelman & Assocs., 532 F.2d

 545, 550 (6th Cir. 1976); U.S. ex rel Doe v. DeGregorio, 510 F. Supp. 2d 877, 890 (M.D. Fla.

 2007). Accordingly, where the government pays out the same amount as it would have had the

 false statement at issue been true, then the Government has suffered no damage. United States v.

 Hibbs, 568 F.2d 347, 351 (3d Cir. 1977).

          In the instant case, the Court has held in the Nu-Way, Wilson Transport and Peredes

 cases that the true measure of the Government's damages is how much the Government paid in

 excess of what it would have paid for the services absent the false representation. As stated more

 clearly in the jury instructions used by the Court in both the Nu-Way and Peredes cases, the

 difference between what the Government paid and the value of what the Government received.

          This approach to calculating damages is consistent with the approach other courts have

 taken when the Government has received value for the services that are the subject of the action.

 The Court of Federal Claims addressed this issue in Ab-Tech Construction, Inc. v. United States,

 31 Fed. Cl. 429 (Fed. Cl. 1994), (a case factually similar to this case) and rejected an argument

 similar to that made by Chabot in this case. In Ab-Tech, the contractor had submitted payment

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 vouchers certifying that it was adhering to the requirements for participation in a Small Business

 Act Program. The court found that the contractor's false certification of compliance with the

 program requirements amounted to a false claim, but in response to the Government's claim that

 the amount of damages was the full amount paid under the relevant contract, the court held:

         The court cannot go along with this demand. Damages represent compensation
         for a loss or injury sustained. Here, however, no proof has been offered to show
         that the Government suffered any detriment to its contract interest because of Ab-
         Tech's falsehoods. Rather, viewed strictly as a capital investment, the
         Government got essentially what it paid for-an automated data processing facility
         built in accordance with the contract drawings and specifications. Thus, the court
         can discern no basis upon which to uphold the Government's demand for treble
         damages.

 Id. at 434.

         In U.S. v. Bornstein, 423 U.S. 303 (1976), the Supreme Court adopted this same position,

 finding that "[t]he Government's actual damages are equal to the difference between the market

 value of the tubes it received and retained and the market value that the tubes would have had if

 they had been of the specified quality." Id. at 13.

          In the context of a defendant that was a federal government contractor charged with

 developing a training program for employees of a facility utilized to store certain radioactive

 waste, the Fourth Circuit applied a similar measure of damages. United States ex rel. Harrison v.

 Westinghouse Savannah River Co., 352 F.3d 908, 911 (4th Cir.2003). In Harrison, the

 defendant contractor had falsely certified that there were no conflicts in relation to a particular

 subcontract, and the court found that the plaintiff could not recover damages in the entire amount

 of the money paid out by the federal government on that subcontract because plaintiff had not

 shown that the subcontractor "failed to perform the work that it was required to perform under

 the subcontract or that the government did not receive the benefit of the work performed." Id. at

                                                   E
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 923.

        In Harrison, the relator argued, as Chabot does here, that

        the district court erred by ruling that he could not seek disgorgement of all monies
        paid by DOE to Westinghouse as damages. He claims that the subcontract was
        void ab initio because of the fraud perpetrated by [Defendant], and therefore, the
        $9 million that DOE paid for the work [a subcontractor] performed under the
        subcontract should be disgorged.

 Id. at 922. The district court in that case and the Fourth Circuit rejected the relator's arguments

 finding that "[a]lthough [Defendant] ran afoul of the fair bidding requirements, there was no

 evidence adduced at trial suggesting that [the subcontractor] failed to perform the work that it

 was required to perform under the subcontract or that the government did not receive the benefit

 of the work performed." Id. at 923.

        The damages that Chabot must submit evidence to prove, is the same as it was in Ab-

 Tech, Bornstein and Harrison: the difference in value between what was contracted for and what

 was received. Where, it cannot be shown that a defendant failed to perform the work that it was

 required to perform under the contract or that the government did not receive the benefit of the

 work performed or that the government did not get what it paid for, the government is entitled to

 no recovery of damages. Harrison, 352 F.3d at 923; Ab-Tech, 31 Fed. Cl. at 434.

         The computation Chabot has submitted in its Supplemental Rule 26 Disclosures fails on

 its face to meet the standard of evidence measuring the benefit received by the Government. To

 merely subtract some portion of what MLU paid to various subcontractors from the total contract

 amount is not an accurate measure of the "benefit" received by the Government. First, this

 method does nothing to indicate the benefit conferred to the Government by MLU's

 administration of the contracts and organization of activities provided thereunder. The benefit

 received by the Government included far more than just the physical installation or hookup
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 services performed by subcontractors, as MLU handled substantial logistics in the scheduling,

 coordinating and overseeing of more than a thousand travel trailer installations. The delta

 between the amount paid to MLU by FEMA and the amount MLU paid to the subcontractors

 does not represent MLU's "profit" on the job nor is it a reasonable measure of the Government's

 benefit of the bargain.

         Second, the FEMA representative, Bryan McCreary, whose deposition MLU has already

 designated for trial, specifically testified that the price charged by MLU was determined by the

 Government to be fair and reasonable for the services performed and that the Government got

 the full "quantitative" value of the services for which it contracted. (McCreary, Dec. 11, 2009

 Depo.: 44:11-15; 63:3-8). McCreary could not identify any work which the Government paid

 for, but did not receive from MLU and admitted that it was possible that the Government might

 have paid the full contract amount to MLU, even if MLU was found to lack a license which was

 required for the work. Id. at 61:11-62:14. These statements taken together indicate that the

 amount of the benefit upon the Government was the amount charged by MLU. Given that the

 only witness who is in any way authorized to speak for the Government in this case has testified

 at deposition, that the Government received what it contracted for and that the Government

 suffered no measurable (quantitative) harm, there is no reason for Chabot to be allowed to submit

 proof of his supplemental damages computations.

         Finally, Chabot's supplemental damages calculations are not a reasonable measure of the

 benefit to the Government, because Chabot is simply deducting from the full contract value, the

 amounts paid to certain subcontractors. Chabot has no evidence from which a jury could make a

 determination as to what travel trailer installations involved the use of various licensed

 electricians or plumbers and thus could have required a Division I contracting license under Fl.
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 St. 489. Not all the travel trailer installations involved MLU subcontracting with licensed

 electricians or plumbers and thus not all the travel trailer installations could be a potential false

 claim. Chabot simply seeks to deduct some portion of the subcontractor payments, without

 regard to what those payments represent, what installations they relate to and most importantly,

 what false claim they connect to. Chabot should not be permitted to bring in such speculative

 evidence of damages.

                                             Conclusion

        For the foregoing reasons, Chabot should not be permitted to belatedly supplement his

 damages calculations more than two years after his initial Rule 26 Disclosures, and more than

 eight months after the close of discovery. The supplemental computations are untimely,

 prejudicial to MLU and are not a proper measure of the damages, as instructed by the Court.

 MLU respectfully requests the Court deny Chabot's Motion to Permit Proof of Damages

 Pursuant to Supplemental Rule 26(a) Disclosures.



 Submitted this 9th day of April, 2010.

                                                /s/MarkD. Kiser
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 9 th day of April, 2010, the foregoing was filed with the Clerk
 of this Court by CM/ECF, which will send an electronic notice of filing to the following:

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 U.S. Department of Justice — Civil Division
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                                                By: /s/MarkD. Kiser
                                                      Attorney




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 Memo in opp to motion to amend
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                              EXHIBIT "A"
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                                     UNITED STATES DISTRICT COURT
                                                                                                          4iLE COPY
                                      MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

   UNITED STATES OF AMERICA and
   GREGORY CHABOT,

            Plaintiff,
   vs,.                                                          CASE NO.,: 6:06-cv-1528 .-Or1•-19KRS

   MLU SERVICES, INC.,,

            Defendant.
                                             .1

                  RELATOR CHABOT'S RULE 26(A)(1) INITIAL DISCLOSURES

            Pursuant to the parties agreed Case Management Report, filed Febivaiy 27, 2008 [Doe..

   25], Relator Chabot hereby discloses the following persons it may call as witnesses and

   documents it may use as exhibits at trial in this matter as follows:

          I. WITNESSES

       The addresses of the witnesses disclosed may be located on the documents being produced
   concurrently herewith.. In general, the various witnesses have knowledge of the allegations of
   the Complaint as well as defenses thereto..

   Various State Agencies
                    ncies

            1.       Dwight F., Davis, Florida Bureau of'Mobile home and RV Construction, Division
   of Motor Vehicles, Florida Department of Highway Safety and Motor Vehicles.. The extent of
   this witness' knowledge is unknown at this time.. However, he is expected to have knowledge of
   policies, procedures, licensing requirements, bid solicitations relating to mobile home services
   subject to this litigation.

           2.     Cathy Griner, Florida Bureau of Mobile home and RV Construction, Division of
   Motor Vehicles, Florida Department of Highway Safety and Motor Vehicles.. The extent of this
   witness' knowledge is unknown at this time. However, she is expected to have knowledge
   regarding policies, procedures, licensing requirements, bid solicitations relating to mobile home
   services subject to this litigation.

          3.. Phil Bergelt, Florida Bureau of Mobile Home and RV Construction, Division of
   Motor Vehicles, Florida Department of Highway Safety and Motor Vehicles.. The extent of this
   witness' knowledge is unknown at this time.. However, he is expected to have knowledge




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    regarding policies, procedures, licensing requirements and bid solicitations relating to mobile
    home services subject to this litigation.

    Various Local Agencies

            4.      Michelle (Last name not yet known), Hardee County Building & Zoning
    Department, 401 West Main Street, Wauchula, FL 33873. The extent of this witness' knowledge
    is unknown at this time., However, she is expected to have knowledge regarding permits issued
    and license activity for Hardee County.,

           5.     Records Custodian, Walton County, County Courthouse Annex, 4.7 N. 6`h Street,
    Defimiak Springs, FL 32459., The extent of this witness' knowledge is unknown at this time..
    However; they are expected to have knowledge regarding permits issued and license activity for
    Walton County,

           6,. Larry Hilton, Chief of Development, Desota County/Arcadia, 201 E.. Oak Street,
   Suite 204, Arcadia, FL :34266. The extent of this witness' knowledge is unknown at this time..
   However, he is expected to have knowledge regarding permits issued and license activity for
   Desoto County.

   Federal Agencies/Departments

          1.. Cathy McNamara, Department of Homeland Security. The extent of This witness'
   knowledge is unknown at this time.. However, she is expected to have knowledge regarding
   Request for Quotations (RFQ) and the bidding process subject to this litigation..

           8..   Vicky Lewis, The extent of this witness' knowledge is unknown at this time..
   However, she is expected to have knowledge regarding public records requests made pursuant to
   the Freedom of Information Act (FOIA) subject to this litigation.

           9..    Bryan McCreary, FEMA, U.S.. Department of Homeland Security.. The extent of
   this witness' knowledge is unknown at this time. However, he is expected to have knowledge
   regarding Request for Quotations (RFQ) and the bidding process as well as FEMA contracts
   awarded subject to this litigation.

           10. Jonathan Gibb, FEMA, U.S.   . Department of Homeland Security.. The extent of
   this witness' knowledge is unknown at this time. However, he is expected to have knowledge
   regarding Request for Quotations (RFQ) and the bidding process as well as FEMA contracts
   awarded subject to this litigation..

           11.. Richard Spillane, FEMA, U.S.. Department of Homeland Security. The extent of
   this witness' knowledge is unknown at this time.. However, he is expected to have knowledge
   regarding Request for Quotations (RFQ) and the bidding process as well as FEMA contracts
   awarded subject to this litigation.




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              12.. Patricia English, Head of Contracting Activity, Financial & Acquisition
   Management Division, FEMA, U.S., Department of Homeland Security. The extent of t his
   witness' knowledge is unknown at this time,. However, she is expected to have knowledge
   regarding public records requests submitted, pursuant to the Freedom of Information Act, subject
   to this litigation,.

           13.. Elaine l.. Chan, General Attorney, Office of General Counsel, FEMA, U..S..
   Department of Homeland Security.. The extent of this witness' knowledge is unknown at this
   time.. However, she is expected to have knowledge regarding public records requests submitted,
   pursuant to the Freedom of Information Act, subject to this litigation.

          14.    .Timmy Jordan, Resource Support, Long Term Recovery Office-Orlando, (407)
   856-3074, FEMA, U.S.. Department of Homeland Security. The extent of this witness'
   knowledge is unknown at this time. However, he is expected to have knowledge regarding
   Request for Quotations bidding process, procedures, and notifications as well as FEMA contracts
   awarded subject to this litigation.

            15.     Robert Burton, Executive Office of the President, Office of Management and
   Budget, Washington, D.C.. 20503., The extent of this witness' knowledge is unknown at this
   time.. However, he is expected to have knowledge regarding online procurement techniques
   related to collecting bid response data from federal agencies,.

           16., Janice Gurganus, FEMA, U.S. Department of Homeland Security.. DR-15:39
   Disaster Field office, 100 Support Lane, Orlando, FL 32809, (407) 858-2000. The extent of this
   witness' knowledge is unknown at this time.. However, she is expected to have knowledge
   regarding the contracts awarded for set-up and installation

   General Witnesses

          17.. Ken Cashin, Florida Mobile Home Supply, Inc.., 1250 G.. Bloutstown Hwy,
   Tallahassee, FL :32304, President of Windstorm Mitigation, 732 Blountstown Hwy,
   Tallahassee, FL 32304. The extent of this witness' knowledge is unknown at this time.
   However, he is expected to have knowledge regarding FEMA/Depaitment of Homeland Security
   Request for Quotations (RFQ) and the bidding process subject to this litigation_

             18.. John David Edenfield, Middleburg, FL, (904) 282-8362. The extent of this
   witness' knowledge is unknown at this time. However, this witness is expected to have
   knowledge relating to the installation, deactivation and maintenance of mobile homes and travel
   trailers subject to his litigation.

            19.. Joe Chatman, Ft. White, FL (386) 497-2277.. The extent of this witness'
   knowledge is unknown at this time.. However, this witness is expected to have knowledge
   relating to the installation, deactivation and maintenance of mobile homes and travel trailers
   subject to his litigation..




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           20.. John McDonald, Former Vice President of Windstorm Mitigation, Tallahassee,
   FL and former Supervisor with the Florida Bureau of Mobile Home and RV Construction,
   Division of Motor Vehicles, Florida Department of Highway Safety and Motor Vehicles.. The
   extent of this witness' knowledge is unknown at this time.. However, he is expected to have
   knowledge regarding FEMA/Department of Homeland Security Request for Quotations (RFQ)
   and the bidding process subject to this litigation..

           21, Robin Chabot, 2107 Northeast 188th Place, Gainesville, FL :32609.. This witness
   has knowledge as to Relator Chabot's original discovery of the unlicensed activity, his filed
   investigations of that activity and his subsequent corroboration of the activity through public
   records requests.

   Parties

           22..  Gregory Chabot, Relator.. Has knowledge as the allegations contained in the
   subject Complaint.

   {      23.     MW Services, Inc. This witness is expected to have knowledge regarding the
   bidding process and contracts awarded to MLU subject to this litigation.

   Others

            24.      Any person whose name appears on any of the documents produced by either
   party in this action.,

           25.    Any person disclosed by Defendant, IVILU Services, Inc., in its initial disclosures
   or any subsequent disclosures..

         Plaintiff/Realtor Gregory Chabot expressly reserves the right to modify, withdraw or
   supplement the foregoing list with the names of other individuals as discovery unfolds in this
   case,

      II. DOCUMENTS

          Plaintiff/Relator Chabot has produced approximately 1785 pages of documents on March
   13, 2008, which have been Bates labeled Chabot Rule 26 00001 — 01785.. Relator expressly
   reserves the right to modify, withdraw or supplement its production with other documents as
   discovery unfolds in this case..

      M. COMPUTATION OE DAMAGES

       Treble damages of the contract amount, which is believed to be $7,500,000, for a total of
   $22,500,000.


             DATED: March 18, 2008




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                                                      THE




                                                               P.O: Box 38:
                                                               St.. Augustine, Floiida 32085••0038
                                                               Telephone: (904) 825.1942
                                                               Facsimile: (904) 825-1912
                                                               Florida Bar No.: 0745741
                                                               meredithlawfiim@bellsouth.net


                                       CERTIFICATE OF SER ICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

   the following by facsimile & U.S. Mail on this , `= day of March, 2008:

          Samuel D. Armstrong, Esquire
          Assistant United States Attorney
          501 W. Church Stttet, Suite 300
          (hlando, FL 32805

          Jennifer Chorpening, Esquire
          Department of Justice
          Post Office Box 261
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                              EXHIBIT "B"
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              MR. KLEINBERG: Yes, ma'am.

O5                      THE COURT: And she's being offered as a summary

              6 witness?

              7        MR. KLE]NBERG: No, ma'am. She's being offered --

              8 there are two piles of checks from the subcontractors. She

              9 : has sorted them out for doubleses and she's taken out any

              10 invoices for permitting, so the only thing left our position

              11 is are the checks from Nu-Way to the subcontractors, and she.

              12 will testify about as quickly as I just described as to what

         •   .13 she did and how she prepared this document which will be an

              14 exhibit that I would try to introduce into evidence.

              15        THE COURT: All right.

'i            16 .      MR. FOREHAND: Your Honor, the exhibit, of course, I

              17 got yesterday.                          .

              18        THE COURT: I understand,

              19        All right. She will not be allowed to testify. The

              20 exhibit will not be allowed to be introduced during the course

              21 of the trial. The plaintiff is left with the damages

             22 plaintiffs sought to introduce under the Rule 26 disclosures

             23 and under his pre-trial statement left unamended throughout

              24 the entire break between the case and up until the date of the

             25 first 'day of trial. Ijust cannot fathom any way to undo the
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                   1 prejudice that will be caused to the defense. They were

                   2 called upon to stop the trial and begin to try to address a

                   3 new damages theory in the case, so she will not be called and

                   4 the evidence will not be introduced. And then I'll deal with

                   5 this new witness, if she is necessary to be called, once I

                   6 guess Mr. Meredith has inquired of or somebody has inquired of

                   7 when the plaintiff first learned of her knowledge concerning
      Q


                   8 relevant facts in the case.

                   9         Is there anything else?

                   10        MR. FOREHAND: Your Honor, I guess I don't know --
 z.



                   11 if it relates to Mr. Miller, his deposition was taken in

                   12 October of 2008, so I don't know if their contention is

                   13 thinking that it's based on something he said in his depo.or

                   14 they're just hypothetically thinking about anything he might

                   15 say.

                   16        THE COURT: Once we get to that point, after they've

                   17 heard him testify, they can decide whether they want to seek

                   1.8 to impeach him using this person and A at that point the Court

                   19 will take up when she was discovered, because I'm hearing they

                   20 .don't know when she was discovered, and they need to ask, I

                   21 assume, Mr. Meredith or somebody else when she was discovered
p---1
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ED               22 and.thenwe'll address it.

                 23        MR. FOREHAND: Thank you, Your Honor.

                 24        THE COURT: Am I accurate?

     •           25 •      MR. DARKEN: All I know, Your Honor, is that she --
